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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

UNITED STATES,                       )
                                     )
       Plaintiff,                    )
                                     )
       v.                            )     Case No. 1:18-cv-05774-AT
                                     )
ECOVEST CAPITAL, INC.,               )
ALAN N. SOLON,                       )
ROBERT M. MCCULLOUGH,                )
RALPH R. TEAL, JR., and              )
CLAUD CLARK III,                     )
                                     )
       Defendants.                   )

     FINAL JUDGMENT OF PERMANENT INJUNCTION AGAINST
                DEFENDANT CLAUD CLARK III

      Plaintiff United States and Defendant Claud Clark III have filed a joint

motion for entry of final judgment that resolves all the United States’ claims

against Claud Clark III in this case. The Court grants that motion and enters final

judgment as set forth below.

      A.     This Court has personal jurisdiction over Claud Clark III. This Court

has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1340 and

1345 and 26 U.S.C.§§ 7402, 7407, and 7408.

      B.     Without admitting any of the allegations in the amended complaint,

Claud Clark III has consented to the entry of this injunction.
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      C.    Pursuant to 26 U.S.C. §§ 7402, 7407, and 7408, Claud Clark III is

permanently barred from directly or indirectly:

            1.     organizing, promoting, or selling (or assisting in the

            organization, promotion, or sale of) any plan or arrangement that

            involves a deduction for a qualified conservation contribution under

            26 U.S.C. § 170(h);

            2.     participating (directly or indirectly) in the sale of any

            conservation easement syndicate or any other plan or arrangement that

            involves a deduction for a qualified conservation contribution under

            26 U.S.C. § 170(h);

            3.     making or furnishing (or causing another to make or furnish) a

            statement about the allowance of any federal tax benefit as a result of

            participating in a conservation easement syndicate or any other plan or

            arrangement that involves a deduction for a qualified conservation

            contribution under 26 U.S.C. § 170(h), which he knows or has reason

            to know is false or fraudulent as to a material matter;

            4.     facilitating for compensation any donation that is intended to

            qualify as a qualified conservation contribution under 26 U.S.C.

            § 170(h);




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             5.    preparing (or assisting in the preparation of) any federal tax

             return, or any document that may be filed in support of a tax return or

             other submission to the IRS claiming benefits resulting from a

             qualified conservation contribution under 26 U.S.C. § 170(h),

             including, but not limited to, Forms 8283 (Noncash Charitable

             Contributions) and attachments or qualified appraisals;

             6.    preparing (or assisting in the preparation of) any appraisal that

             is intended to be a “qualified appraisal” within the meaning of 26

             U.S.C. § 170(f)(11)(E); and

             7.    representing any individual before the IRS with respect to any

             donation that is intended to qualify as a qualified conservation

             contribution under 26 U.S.C. § 170(h).

      D.     Pursuant to 26 U.S.C. § 7402(a), Claud Clark III shall, by February

28th each year for each of the next 6 years, sign a declaration under penalty of

perjury affirming that he has not engaged in any of the conduct identified above in

paragraph C during the prior calendar year. Claud Clark III shall send that

declaration to the following two recipients at the following addresses (unless

notified of new addresses):

             Internal Revenue Service
             Lead Development Center Stop MS5040
             24000 Avila Road
             Laguna Niguel, CA 92677

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             Department of Justice, Tax Division
             Chief – Civil Trial Section, Central Region
             P.O. Box 7238
             Ben Franklin Station
             Washington, D.C. 20044

      E.     Pursuant to 26 U.S.C. § 7402(a), Claud Clark III shall, no later than

60 days from the date the Final Judgment of Permanent Injunction is entered in this

case, contact by mail (or by e-mail, if an e-mail address is known) all individuals

or entities for whom he prepared (or assisted in the preparation of) any appraisal

that was intended to be a “qualified appraisal” within the meaning of 26 U.S.C.

§ 170(f)(11)(E) since January 1, 2017, and provide such persons with a copy of the

Final Judgment of Permanent Injunction. Claud Clark III shall also provide to

counsel for the United States, within 60 days of the Court’s judgment, a list of

these persons or entities. Except for the Final Judgment of Permanent Injunction,

no additional materials may be included in this notification unless approved by the

United States or the Court.

      F.     Pursuant to 26 U.S.C. § 7402(a), Claud Clark III shall, no later than

60 days from the date the Final Judgment of Permanent Injunction is entered in this

case, contact by mail (or by e-mail, if an e-mail address is known) all employees,

independent contractors, agents, directors, and officers of any entities owned or

controlled by Claud Clark III which prepared (or assisted in the preparation of) any

appraisal that was intended to be a “qualified appraisal” within the meaning of 26

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U.S.C. § 170(f)(11)(E) since January 1, 2017, and provide such persons with a

copy of the Final Judgment of Permanent Injunction. Claud Clark III shall also

provide to counsel for the United States, within 60 days of the Court’s judgment, a

list of these persons. Except for the Final Judgment of Permanent Injunction, no

additional materials may be included in this notification unless approved by

counsel for the United States or the Court.

      G.     Pursuant to 26 U.S.C. § 7402(a), Claud Clark III shall prominently

display a copy of the Final Judgment of Permanent Injunction on the front page of

any websites Claud Clark III controls or maintains that contain (or contained)

information about conservation easements, and any website on which Claud Clark

III advertises or markets conservation easements.

      H.     Pursuant to 26 U.S.C. § 7402(a), Claud Clark III shall, within 90 days

of entry of the Final Judgment of Permanent Injunction in this case, file with the

Court a certification signed under penalty of perjury that he has complied with

paragraphs E, F, and G, above.

      I.     Claud Clark III shall not make any statements, written or verbal, or

cause or encourage others to make any statements, written or verbal, that

misrepresent any of the terms of the Final Judgment of Permanent Injunction in

this case or the parties’ written settlement agreement.




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      J.    This Court shall retain jurisdiction over this action for purposes of

implementing and enforcing the Final Judgment of Permanent Injunction and to

allow the United States post-judgment civil discovery, consistent with the Federal

Rules of Civil Procedure, to monitor Claud Clark III’s compliance with the Final

Judgment of Permanent Injunction in this case.


      Ordered this ____ day of ______________, 2023

                                      _______________________________
                                      AMY TOTENBERG
                                      UNITED STATES DISTRICT JUDGE




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Approved as to form and substance:
 s/ Richard G. Rose
___________________________            s/ Robert C. Khayat, Jr.
                                       ___________________________
GREGORY VAN HOEY                       ROBERT C. KHAYAT, JR.
Maryland Bar                           Georgia Bar No. 416981
RICHARD G. ROSE                        BRIAN D. SPIELMAN
District of Columbia Bar No. 493454    Georgia Bar No. 596026
HARRIS J. PHILLIPS                     KHAYAT LAW FIRM
Massachusetts Bar No. 675603           75 Fourteenth Street, N.E.
JAMES F. BRESNAHAN II                  Suite 2750
Virginia Bar No. 80164                 Atlanta, Georgia 30309
LAUREN A. DARWIT                       Telephone: (404) 978-2750
Illinois Bar No: 6323788               Facsimile: (404) 978-2901
Trial Attorneys, Tax Division          Email: rkhayat@khayatlawfirm.com
U.S. Department of Justice             Email: bspielman@khayatlawfirm.com
P.O. Box 7238
Ben Franklin Station                   Attorneys for Claud Clark III
Washington, D.C. 20044
Telephone: (202) 514-6619
Facsimile: (202) 514-6770

DAVID A. HUBBERT
Deputy Assistant Attorney General

Local Counsel:

RYAN K. BUCHANAN
United States Attorney
NEELI BEN-DAVID
Assistant U.S. Attorney
Georgia Bar No. 049788
Office of the United States Attorney
Northern District of Georgia
600 U.S. Courthouse
75 Ted Turner Drive, SW, Suite 600
Atlanta, GA 30303
Telephone: (404) 581-6303
Neeli.ben-david@usdoj.gov

Attorneys for the United States

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